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                                                                                      2008 Aug-01 PM 04:03
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA



               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION


 ALABAMA CREDIT UNION,
       Plaintiff,
 v.                                                       CV-05-B-1692-W

 THE CREDIT UNION OF ALABAMA FEDERAL
 CREDIT UNION, f/k/a B. F. GOODRICH
 EMPLOYEES FEDERAL CREDIT UNION,

       Defendant.

                                Joint Report to Court

      Pursuant to the Court's order entered June 5, 2008 (Doc. #119), the parties

report that since their joint report to the court on July 3, 2008 (Doc. #120), they

have continued to exchange lists of proposed names by correspondence of July 15

and July 29, and that they have exchanged comments and objections by

correspondence of July 8 and July 22. The lawyers for the parties met for an

extended period on August 1, 2008, which included oral comments on the July 29

proposals.

      The parties believe that they have been making progress and request an

additional thirty days to continue the discussions. The parties do not see the need to

extend the order requiring the continued exchange of names since there are an
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adequate number of names proposed. The parties request an additional thirty days

to continue their discussion.

      The parties respectfully request that the status conference, now scheduled for

August 7 at 4:00 p.m., be postponed for 30 days.


Dated: August 1, 2008



s/Lewis W. Page, Jr.                         s/Michael S. Denniston
Lewis W. Page, Jr.                           Michael S. Denniston
Attorney for Plaintiff                       Attorney for Defendant

Page Law Firm, LLC                           Bradley Arant Rose & White, LLP
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                      CM/ECF CERTIFICATE OF SERVICE

       I hereby certify that on August 1, 2008, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification
to the following:

James N. Nolan                                Kyle Smith
David W. Spurlock                             Sirote & Permutt
Walston, Wells & Birchall, LLP                2311 Highland Ave. South
One Federal Place                             Birmingham, AL 35205-5727
1819 5th Avenue North, Suite 1100
Birmingham, AL 35203                          Paul E. Toppins
                                              1308 Dearing Place
Barry V. Frederick                            Tuscaloosa, AL 35401-3336
Brandi B. Frederick
The Frederick Firm
5409 Trace Ridge Lane
Hoover, AL 35244

and I hereby certify that I have mailed by United States Postal Service the document
to the following non-CM/ECF participants: None.


                                       s/Lewis W. Page, Jr.
                                       OF COUNSEL




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